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 1 Tim A. Pori (SBN 189270)
   LAW OFFICES OF TIM A. PORI
 2 521 Georgia Street
   Vallejo, CA 94590
 3 Telephone: (707) 644-4004
 4 Attorney for Defendant ORLANDO FLETES-LOPEZ
 5
 6                           UNITED STATES DISTRICT COURT
 7                          EASTERN DISTRICT OF CALIFORNIA
 8
 9 UNITED STATES OF AMERICA,                           Case No. 2:11-cr-00096 JAM
10                        Plaintiff,
                                                       STIPULATION AND ORDER TO
11 vs.                                                 EXCLUDE TIME
12 ORLANDO FLETES-LOPEZ, et al.
13
                          Defendants.
14
     ________________________________/
15
16
            The parties hereby stipulate that the status conference in this case be continued
17
     from July 19, 2011, to October 18, 2011, at 9:30 a.m. The parties stipulate that the time
18
     between July 19, 2011, and October 18, 2011, should be excluded from the calculation of
19
     time under the Speedy Trial Act. The parties stipulate that the ends of justice are served
20
     by the Court excluding such time, so that counsel for the defendant may have reasonable
21
     time necessary for effective preparation, taking into account the exercise of due diligence.
22
     18 U.S.C. § 3161(h)(7)(B)(iv) and Local Code T-4. Specifically, Counsel for defendants
23
     require time to fully review the discovery and investigate the case. The parties stipulate
24
     and agree that the interests of justice served by granting this continuance outweigh the
25
     best interests of the public and the defendant in a speedy trial. 18 U.S.C. §3161(h)(8)(A).
26
            The parties further request that this matter be taken off the July 19, 2011 calendar
27
28                                                1
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 1 before Judge John Mendez and be rescheduled for October 18, 2011, at 9:30 a.m. before
 2 Judge Mendez.
 3
 4
 5                                         Respectfully submitted
 6
     Date: July 15, 2011                   /s/ Tim A. Pori
 7                                         TIM A. PORI
                                           Attorney for Defendant
 8                                         ORLANDO FLETES-LOPEZ
 9
     Date: July 15, 2011                   /s. Arturo Hernandez (Authorized 7/15/11)
10                                         ARTURO HERNANDEZ
                                           Attorney for Defendant
11                                         ALEJANDRO FLETES-LOPEZ
12
     Date: July 15, 2011                    /s/ Kenny Giffard (Authorized 7/15/11)
13                                         KENNY GIFFARD
                                           Attorney for Defendant
14                                         IRMA ANACANI GONZALEZ
15
     Date July 15, 2011                     /s/ Christopher Haydn-Myer (Authorized
16                                         7/15/11)
                                           CHRISTOPHER HAYDN-MYER
17                                         Attorney for Defendant
                                           JESUS ALBERT SANCHEZ LOPEZ
18
19 Date: July 15, 2011                      /s/ John R. Manning (Authorized 7/15/11)
                                           JOHN R. MANNING
20                                         Attorney for Defendant
                                           GERMAN GONZALEZ-VELAZQUEZ
21
22 Date: July 15, 2011                     /s/ Michael E. Hansen (Authorized 7/15/11)
                                           MICHAEL E. HANSEN
23                                         Attorney for Defendant
                                           MARCELA SANTAMARIA
24
25 Date: July 15, 2011                     /s/ Clemente M. Jimenez (Authorized 7/15/11)
                                           CLEMENTE M. JIMENEZ
26                                         Attorney for Defendant
                                           CONSEPCION CARRILLO
27
28                                            2
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 1
 2 Date: July 15, 2011                     /s/ Gilbert A. Roque (Authorized 7/15/11)
                                           GILBERT A. ROQUE
 3                                         Attorney for Defendant
                                           GUADALUPE REYES-ONTIVEROS
 4
 5 Date: July 15, 2011                     /s/ Paul A. Hemesath (Authorized 7/15/11)
                                           PAUL A. HEMESATH
 6                                         Assistant United States Attorney
 7
 8
 9
10                                        ORDER
11        IT IS HEREBY ORDERED that the Status Conference in the above-entitled
12 matter is continued to October 18, 2011, at 9:30 a.m. before the Honorable John Mendez
13 in courtroom 14.
14
15 Dated: 7/15/2011
                                           /s/ John A. Mendez
16                                         U. S. DISTRICT COURT JUDGE
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